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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )               Case No. 8:06CR242
                                              )
              v.                              )
                                              )        REPORT AND RECOMMENDATION
GAIL A. TIERNEY and                           )                AND ORDER
SHAWN B. BIGGS,                               )
                                              )
                      Defendants.             )

       This case came before the court on September 25, 2006, on defendant Gail A.
Tierney’s Motion for Disclosure of Confidential Informant [17]. Defendant Shawn B. Biggs’
Motion to Join Co-Defendant’s Motion [25] was granted. At the conclusion of the hearing,
I stated on the record my decision to recommend that the Motion for Disclosure be denied.
In accordance with that announcement,
       IT IS RECOMMENDED to the Honorable Laurie Smith Camp, United States District
Judge, that the Motion for Disclosure [17] be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause an expedited transcript of the hearing to be prepared
and filed.
       2.     Pursuant     to NECrimR 57.3,             any objection    to this   Report and
Recommendation shall be filed with the Clerk of the Court within ten (10) days. Failure to
timely object may constitute a waiver of any such objection. The brief in support of any
objection shall be filed at the time of filing such objection. Failure to file a brief in support
of any objection may be deemed an abandonment of the objection.
       Dated this 25th day of September 2006.

                                              BY THE COURT:


                                              S/ F.A. Gossett
                                              United States Magistrate Judge
